       Case 1:06-cv-00317-EJL-LMB Document 6 Filed 09/28/06 Page 1 of 7



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ATTORNEYS FOR DEFENDANTS CITY OF GARDEN CITY,
JIM BENSLEY and ANGELA LYTHGOE


                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


VERNON K. SMITH,                                )
                                                )
                                                ) Case No. CIV 06-317-S-EJL
                Plaintiff,                      )
        vs.                                     )
                                                ) ANSWER TO COMPLAINT
GARDEN CITY, IDAHO, a political                 )
                                                )
subdivision of the State of Idaho; JIM          )
BENSLEY, individually and in his capacity as )
Chief of Police of Garden City, Idaho;          )
ANGELA LYTHGOE, individually and in her )
capacity as a Garden City Police Officer; AND ))
JOHN and JANE DOES, I through X                 )
inclusive, individually and in their capacities )
as officials, employees and/or agents of        )
Garden City, Idaho, and acting outside their )
                                                )
constitutional authority,                       )
                                                )
                Defendants.                     )
                                                )
                                                )


       COME NOW the Defendants, CITY OF GARDEN CITY, JIM BENSLEY and ANGELA

LYTHGOE, by and through their attorney of record, Michael J. Kane of the firm Kane &

Tobiason, LLP, and for Answer to Plaintiff’s Complaint, allege as follows:




ANSWER TO COMPLAINT - P. 1
        Case 1:06-cv-00317-EJL-LMB Document 6 Filed 09/28/06 Page 2 of 7



                                        FIRST DEFENSE

       1.      Plaintiff’s Complaint, and each and every count thereof, fail to state a claim

against these answering Defendants upon which relief can be granted.

                                       SECOND DEFENSE

       2.      These answering Defendants deny each and every allegation in the Plaintiff’s

Complaint not specifically and expressly admitted herein.

       3.      These answering Defendants deny the allegations contained in paragraph 1

(consisting of six (6) subparagraphs) of Plaintiff’s complaint.

       4.      In answer to paragraph 2 of Plaintiff’s Complaint, no factual allegations are made

and therefore no answer is required.

       5.      In answer to paragraph 3 of the Plaintiff’s Complaint, these answering Defendants

admit that the court has jurisdiction, but deny any other allegations contained in the paragraph.

       6.      These answering Defendants admit paragraph 4 of Plaintiff’s Complaint.

       7.      In answer to paragraph 5 of the Plaintiff’s Complaint, these answering Defendants

admit that Plaintiff is a resident of Ada County, Idaho, but deny any other allegations contained

in the paragraph.

       8.      In answer to paragraph 6 of the Plaintiff’s Complaint, these answering Defendants

admit that Garden City is a municipal corporation subject to the laws of the state of Idaho, and

that Angela Lythgoe was employed as a police officer at all times relevant hereto, but deny any

other allegations contained in the paragraph.

       9.      In answer to paragraph 7 of the Plaintiff’s Complaint, these answering Defendants

admit that Jim Bensley was the Chief of Police for Garden City at all times relevant to the

allegations found in the Complaint, but deny any other allegations contained in the paragraph.



ANSWER TO COMPLAINT - P. 2
       Case 1:06-cv-00317-EJL-LMB Document 6 Filed 09/28/06 Page 3 of 7



       10.     In answer to paragraph 8 of the Plaintiff’s Complaint, these answering Defendants

admit that Angela Lythgoe was a police officer employed by Garden City at all times relevant to

the allegations found in the Complaint, and that she was acting within the course and scope of

her duties, but deny any other allegations contained in the paragraph.

       11.     In answer to paragraph 9 of the Plaintiff’s Complaint, no factual allegations are

made pertaining to these answering Defendants, and therefore no answer is required.

       12.     These answering Defendants deny the allegations contained in paragraphs 10, 11,

12, 13, 14, 15, 16, 17 and 18 of Plaintiff’s Complaint.

       13.     In answer to paragraph 19 of Plaintiff’s Complaint, these answering Defendants

admit that the citations issued to the Plaintiff were dismissed, but deny all other allegations

contained in the paragraph.

       14.     In answer paragraph 20 of the Plaintiff’s Complaint, these answering Defendants

admit that Defendant Angela Lythgoe was acting within the course and scope of her duties as a

Garden City police officer at the time citations were issued to the Plaintiff, but deny all other

allegations found in the paragraph.

       15.     These answering Defendants deny the allegations contained in paragraphs 21 and

22 of the Plaintiff’s Complaint.

       16.     In answer to paragraph 23 of the Plaintiff’s Complaint, no factual allegations are

made and therefore no answer is required.

       17.     These answering Defendants deny the allegations in paragraphs 24, 25, 26, 27 and

28 of the Plaintiff’s Complaint.

       18.     In answer to paragraph 29 of the Plaintiff’s Complaint, no factual allegations are

made and therefore no answer is required.



ANSWER TO COMPLAINT - P. 3
        Case 1:06-cv-00317-EJL-LMB Document 6 Filed 09/28/06 Page 4 of 7



        19.     These answering Defendants deny the allegations in paragraphs 30 and 31 of the

Plaintiff’s Complaint.

        20.     In answer to section VI of the Plaintiff’s Complaint (unnumbered paragraph),

these answering Defendants admit that a tort claim was filed with Garden City on behalf of the

Plaintiff, but deny all other allegations contained in the section.

        21.     These answering Defendants deny the allegations contained in section VII

(unnumbered paragraphs) of the Plaintiff’s Complaint.

                                FIRST AFFIRMATIVE DEFENSE

        22.     The individually named answering Defendants are immune from liability.

                              SECOND AFFIRMATIVE DEFENSE

        23.     These answering Defendants are not liable for any injury caused by the act or

omission of another person under the theory of respondeat superior.

                                THIRD AFFIRMATIVE DEFENSE

        24.     At no time did there exist between these answering Defendants and any other

Defendant or any other person an agreement, mutual understanding, or meeting of the minds to

deprive Plaintiff of civil rights.

                              FOURTH AFFIRMATIVE DEFENSE

        25.     The alleged actions of these answering Defendants do not rise to the level of

deprivation of a constitutionally protected right.




ANSWER TO COMPLAINT - P. 4
        Case 1:06-cv-00317-EJL-LMB Document 6 Filed 09/28/06 Page 5 of 7



                               FIFTH AFFIRMATIVE DEFENSE

        26.     The damages sustained by Plaintiff, if any there were, were directly and

proximately caused by the negligence, acts and/or omissions of the Plaintiff.

                               SIXTH AFFIRMATIVE DEFENSE

        27.     The claims and damages set forth in the Plaintiff's Complaint are barred by the

doctrine of unclean hands.

                             SEVENTH AFFIRMATIVE DEFENSE

        28.     To the extent that these Answering Defendants will be considered policymakers

for official capacity purposes, they are not liable since no governmental policy, custom or

practice led to the deprivation of a constitutional right.

                              EIGHTH AFFIRMATIVE DEFENSE

        29.     In so far as Plaintiff’s Complaint seeks to recover damages from the individually

named answering Defendants in their capacity as law enforcement officers under state law

theories of recovery, the action is subject to dismissal for failure to post a bond as required by

Idaho Code § 6-610.

                               NINTH AFFIRMATIVE DEFENSE

        30.     The damages sustained by Plaintiff, if any there were, were directly and

proximately caused by the negligence, acts and/or omissions of Plaintiff, and the negligence, acts

and/or omissions of Plaintiff were equal to or greater than the negligence acts or omissions, if

any, of these answering Defendants.

                               TENTH AFFIRMATIVE DEFENSE

        31.     In regard to Plaintiff’s federal law claims, punitive damages are not available

against a public entity or a public official acting in an official capacity.



ANSWER TO COMPLAINT - P. 5
        Case 1:06-cv-00317-EJL-LMB Document 6 Filed 09/28/06 Page 6 of 7



                            ELEVENTH AFFIRMATIVE DEFENSE

       32.     In regard to the Plaintiff’s federal law claims, punitive damages are not available

against a public official in his individual capacity because the public official did not engage in

conduct exhibiting an actual malicious intent or with recklessness, serious indifference to or

disregard for the rights of others.

                             TWELFTH AFFIRMATIVE DEFENSE

       33.     Probable cause and/or reasonable articulable suspicion existed that Plaintiff was

engaging in illegal activity on the date relevant to the Complaint and therefore it was reasonable

that he was stopped and detained for a brief period of time.

              THESE ANSWERING DEFENDANTS DEMAND A JURY TRIAL

       WHEREFORE, Defendants CITY OF GARDEN CITY, JIM BENSLEY and ANGELA

LYTHGOE, having fully answered Plaintiff’s Complaint, pray as follows:

       1.      Plaintiff’s Complaint be dismissed with prejudice as to these answering

Defendants;

       2.      These answering Defendants be awarded their costs of suit and attorney’s fees

herein incurred; and,

       3.      For such other relief as to the Court seems just and equitable in the premises.

       DATED this 27th day of September, 2006.

                                                      KANE & TOBIASON, LLP


                                                BY:      /s/ Michael J. Kane                .




                                                      Defendants CITY OF GARDEN CITY,
                                                      JIM BENSLEY and ANGELA LYTHGOE




ANSWER TO COMPLAINT - P. 6
       Case 1:06-cv-00317-EJL-LMB Document 6 Filed 09/28/06 Page 7 of 7




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 28th day of September, 2006, I electronically filed the
foregoing document with the U.S. District Court. Notice will automatically be electronically
mailed to the following individuals who are registered with the U.S. District Court’s CM/ECF
System:

          •   Vernon K. Smith
              johnmgibson@qwest.net

          •   Michael J. Kane
              mkane@ktlaw.net; tpresler@ktlaw.net


                                                     /s/ Michael J. Kane             .




ANSWER TO COMPLAINT - P. 7
